
678 S.W.2d 264 (1984)
AMERICAN MUTUAL LIABILITY INSURANCE COMPANY, Appellant,
v.
Larry Mottu GUERRERO, Appellee.
No. 13-83-012-CV.
Court of Appeals of Texas, Corpus Christi.
September 25, 1984.
Bernard A. Duco, Jr., Wood, Lucksinger &amp; Epstein, Houston, for appellant.
Paul Jensen, Charles Tullis, Houston, for appellee.
*265 Before NYE, C.J., and GONZALEZ and SEERDEN, JJ.

OPINION
NYE, Chief Justice.
This is a workers' compensation case. The jury found, in answer to special issues, that the appellee, Larry Guerrero, was permanently and totally incapacitated from an injury sustained in the course and scope of his employment. American Mutual Liability Insurance Company appeals.
Appellant asserts one point of error on appeal. American Mutual claims that the trial court erred in submitting five special issues to the jury concerning a subsequent injury allegedly suffered by the appellee. No statement of facts was filed in this case. Without a statement of facts, appellate courts are limited generally to complaints involving (1) errors of law; (2) erroneous pleadings or rulings thereon; (3) an erroneous charge; (4) irreconcilable conflicts of jury findings; (5) summary judgments; and/or (6) fundamental error. Armenta v. Nussbaum, 519 S.W.2d 673 (Tex. Civ.App.Corpus Christi 1975, writ ref'd n.r.e.).
Appellant claims that the trial court erred in refusing to submit various special issues to the jury. The trial court should submit an issue to the jury if there is any evidence, more than a scintilla, to support its submission. Huckaby v. Henderson, 635 S.W.2d 129 (Tex.App.Houston [1st Dist.] 1981, writ ref'd n.r.e.); Trevino v. Trevino, 555 S.W.2d 792 (Tex.Civ. App.Corpus Christi 1977, no writ). Without a statement of facts before us, we cannot determine if there was evidence presented at trial to support the submission of these special issues. Without a statement of facts, we are also unable to determine if the appellant properly preserved error in the trial court with regard to the refusal of the court to submit the issues.
We have reviewed the case for fundamental error and find none. Appellant's first point of error is overruled. The judgment of the trial court is affirmed.
